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    EXHIBIT 3
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                                                     JOSEPH SAVERI
                                                              LAW    FIRM




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SAN     FRANCISCO    CA 94108    September 20, 2023

ree   415.500.6800
                                 Joseph C. Gratz
FAX   415.395.9940
                                 Morrison & Foerster LLP
                                 425 Market Street
                                 San Francisco
                                 California 94105-2482
                                 JGratz@mofo.com

                                  Re:       Doe 1 v. GitHub, Inc, Lead Case No. 4:22-cv-06823-JST
                                            OpenAl’s Responses to Plaintiffs’ First Sets of Requests for
                                            Production and Interrogatories


                                  Dear   Joe:

                                  We are writing to confirm our understanding of OpenAl’s positions on
                                  Plaintiffs’ First Set of Requests for Production and First Set of
                                  Interrogatories following our September 5 & 7 meet-and-confer
                                  sessions. Please let us know if our understanding as described below is
                                  incorrect in any way by October 3, 2023.

                                  Interrogatories

                                  Verifications

                                  The OpenAl entities have not provided verifications for their
                                  interrogatory responses and objections as required by Rule 33(b)(5).
                                  Plaintiffs request the OpenAl entities provide separate verifications
                                  signed by each party entity under oath immediately.

                                  Specific Interrogatories

                                  interrogatories 1, 14:

                                  Pursuant to Rule 33(d), OpenAl agrees to provide Bates numbers of
                                  documents produced in response to these interrogatories. You have
                                  not done so. Please do so without delay.



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        Plaintiffs understand that OpenAl is limiting its response to these
        interrogatories and responding only with regard to Codex. Plaintiffs
        disagree with OpenAl’s limitation because agreements between
        Defendants and the identities of training licensors are discoverable,
        relevant, and admissible. We are happy to defer seeking Court
        intervention were you to promptly produce and identify documents for
        our review. Otherwise, we are at an impasse.

        Interrogatory 2:

        OpenAl refused to respond to this interrogatory on the basis of
        relevance. Plaintiffs disagree that this objection is appropriate. Plaintiffs
        believe the parties are at an impasse.

        Interrogatory 3:

        OpenAl refused to respond to this interrogatory on the basis of
        relevance. Plaintiffs disagree that this objection is appropriate. OpenAl
        indicated it may answer if the interrogatory were limited to individuals
        or entities that control one or more OpenAl entities. Plaintiffs accept
        that limitation. Please provide a prompt response. Plaintiffs make no
        representations about the adequacy of such a response and reserve all
        rights.

        Interrogatory 4:

       OpenAl refused to respond to this interrogatory on the basis of
       relevance. Plaintiffs disagree that this objection is appropriate. OpenAl
       indicated it would answer for the agreements identified in response to
       Interrogatory 1. As noted with respect to Interrogatory 1, you have not
       done so. Please do so without delay. Plaintiffs make no representations
       about the adequacy of such a response and reserve all rights. We note
       the open issues with respect to Interrogatory No. 1. See above. We
       reserve all rights with respect to those issues.

       Interrogatory 5:

       OpenAl provided three names in response to this interrogatory and
       represented that those individuals possess “cumulative knowledge” of
       everything about “engineering and development of Copilot and its
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        previous iterations, versions, or forms.” This is insufficient. Plaintiffs are
        entitled to a full and complete answer. There is no dispute this
        interrogatory calls for relevant information. Plaintiffs are entitled to the
        identity of persons with knowledge or possessing discoverable
        information regardless of whether more than one such person
        possesses the information. This interrogatory calls for the identification
        of such witnesses, not the information in their possession. Plaintiffs
        also note that the discovery process will determine whether
        information is cumulative or not. Plaintiffs request OpenAl provide a
        complete response including all responsive individuals. Unless OpenAl
        promptly provides a complete response, Plaintiffs believe the parties
        are at an impasse.

        Interrogatories 6—7:

        OpenAl refused to respond to these interrogatories as written on the
        bases of relevance and lack of knowledge. Plaintiffs disagree that these
        objections are appropriate. OpenAl indicated it may answer if the
        interrogatories were limited to identifying OpenAl-affiliated individuals.
        Plaintiffs accept that limitation. Please provide a prompt response.
        Plaintiffs make no representations about the adequacy of sucha
        response and reserve all rights.

        Interrogatory 8:

        Plaintiffs accept OpenAl’s response insofar as it pertains to Codex.
       Plaintiffs make no representations about the adequacy of sucha
       response and reserve all rights. Plaintiffs disagree with the exclusion of
       GPT-3 or GPT-4 information. Plaintiffs believe the parties are at an
       impasse regarding the relevance of information regarding GPT-3 and/or
       GPT-4, including with regard to OpenAl’s response to Interrogatories 13
       and 14.

       Interrogatory 9:

       OpenAl refused to respond to this interrogatory on the basis that
       Copilot is not its product and thus its employees lack knowledge. That
       objection is not well taken. First, it does not appear that you have
       conducted an investigation to determine if OpenAl personnel possess
       responsive information. If they do, we are entitled to a response, even
       if your representations regarding ownership or control of Copilot are
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        accurate. Also, the interrogatory is not limited to OpenAl but more
        generally seeks the identification of knowledgeable persons, regardless
        of affiliation. Please provide a prompt response. If OpenAl does not,
        Plaintiffs believe the parties are at an impasse.

        Interrogatory 10:

        OpenAl refused to respond to this interrogatory on the basis of
        vagueness. Specifically, that it does not know what “Ethics Team”
        means. We are puzzled about this. Facts regarding this were
        specifically alleged in the complaint. Plaintiffs explained that “Ethics
        Team” in Interrogatory 10 refers to those involved with OpenAl’s
        “Safety & Alignment” projects, such as those mentioned or described in
        OpenAl blog posts tagged “Safety & Alignment,” which are listed here:
        https://openai.com/blog?topics=safety-alignment.

        Interrogatory 11:

        While OpenAl has provided limited responsive information, Plaintiffs
        are entitled to a full and complete answer. Plaintiffs clarified that this
        interrogatory seeks information about not just OpenAl software, but
        also third-party software used by OpenAl to engage in the activities set
        forth (“maintaining, supervising, managing, analyzing, programming,
        updating, troubleshooting, diagnosing, testing or modifying Copilot”),
        such as Slack, Teams, Azure, etc. OpenAl agreed to conduct further
        investigation and identify, at a minimum, responsive third-party
        products and will supplement its response after identifying them.
        Please provide an answer without delay. Plaintiffs make no
        representations about the adequacy of such a response and reserve all
        rights.

        Interrogatory 12:

       While Plaintiffs appreciate OpenAl responds that certain individuals
       referenced in Interrogatory 12 may be identified through OpenAl’s
       counsel, Plaintiffs are entitled to the information requested in the
       interrogatory. This information is of the type ordinarily requested and
        provided as a matter of course given its clear relevance, regardless of
       jurisdiction. See, e.g., Form Interrogatories — General, available at
       https://www.courts.ca.gov/documents/disc001.pdf. Please supplement
       with that information at once.
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        Interrogatory 13:

        OpenAl stated that responsive data is voluminous and asked that
        Plaintiffs consider an alternative to a full response, such as sampling.
        We think this is a productive suggestion. In addition, Plaintiffs stated
        that they also seek descriptions of the dataset (such as “all public code
        on GitHub available on X date”) in addition to a complete listing.
        Plaintiffs further note that while the corpus of documents used to train
        Codex may be large, a list of the documents should not be and would
        allow us to consider the volume issues you raise. Plaintiffs stand by this
        request and expect a complete response (limited to Codex and Copilot
        until the parties’ dispute regarding relevance of GPT-3 and GPT-4 is
        resolved).

        Requests for Production of Documents

        Preliminarily, as we stated on our meet and confers, Plaintiffs
        understand that each request falls broadly into one or more of three
        categories for collection and production: (1) “go-get” (i.e., producing
        documents within its possession, custody, or control); (2) traditional
        search term and custodian collection; or (3) a hybrid methodology.
        OpenAl cannot confirm which requests it will respond to by producing
        documents by which methodology. Further, while Plaintiffs understand
        that OpenAl has at least agreed to produce documents responsive to
        certain requests? (and has produced a smattering of documents), it has
        not informed Plaintiffs of the volume of the production nor provided a
        date for substantial completion. For certain other requests, OpenAl
        has indicated that it will not produce documents?—for those requests,
        Plaintiffs believe we are at an impasse. Plaintiffs reserve all rights.




        1E.g., Request Nos. 7-9, 13.
        * Plaintiffs make no representations as to the adequacy of OpenAl’s
        production to date or its forthcoming production and reserve all rights
        to pursue appropriate follow-up after assessing OpenAl’s production.
        3 Request Nos. 1, 3, 10, 12, 14-20, 22, 24, 26-33, 35-36, 39-43, 45-47,
        51, 53, 56.
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        Global Issues

        Training. For requests related to the training of Copilot, OpenAl   has
        stated that it objects to responding because Copilot is a product nota
        model, and so was not trained. Without representing that Plaintiffs
        agree with OpenAl’s characterization, Plaintiffs expect that if
        responsive documents related to training Copilot are maintained in
        OpenAl’s possession, custody, or control, those documents would be
        produced.

        Scope. For a number of requests,* OpenAl objects to responding
        because certain products referenced in those requests (e.g., Azure,
        GPT-3) are not, in OpenAl’s view, relevant or encompassed     by this
        action. Plaintiffs disagree but Plaintiffs understand that OpenAl will not
        consider as responsive any documents related to these products.
        Plaintiffs believe the parties are at an impasse.

        Specific Document Requests

        For ease of reference, we refer below to abbreviated descriptions of
        each document request or cluster of document requests (e.g., “Request
        for Production 1: Copilot Individuals”). These shorthand references
        should not be construed as narrowing or otherwise altering the scope
        of the request as originally served by Plaintiffs.

        Request for Production 1: Copilot Individuals

        OpenAl has refused to produce documents responsive to this request
        because Copilot “was not trained” and was not created by OpenAl and
        thus its employees lack knowledge. This objection is not well taken.
        OpenAl must provide documents in its possession, custody, or control
        that identify any individuals it is aware of that are responsive to this
        request, regardless of whether they are directly affiliated with OpenAl
        and/or whether Copilot is an OpenAl product. If no such documents
        exist, then OpenAl should so respond.




        4 E.g., Request Nos. 6, 23-24.
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        Requests for Production 2, 5~7: Organizational Charts

        OpenAl has agreed to produce only organizational charts that include
        individuals involved with Codex—if any are located. As set forth above,
        Plaintiffs disagree that Codex is the only OpenAl product relevant to
        this case. Plaintiffs believe the parties are at an impasse regarding the
        relevance of information regarding other OpenAl products, such as
        GPT-3 and GPT-4. Plaintiffs also note that to the extent organizational
        charts for prior periods have been destroyed or not maintained, we
        would request the data or other native information from which the
        charts were generated or produced.

        Requests for Production 3, 21-24: Agreements Between          Defendants

        OpenAl agreed to produce agreements between OpenAl and Microsoft
        regarding Codex or Copilot in response to certain of these requests but
        nothing else. Earlier iterations of agreements and communications,
        however, are also relevant and should be produced. The exclusion of
        such materials is not well taken. In addition, it is inappropriate for
        OpenAl to limit its production to only agreements with Microsoft
        regarding Codex or Copilot. Agreements with any entity regarding any
        products relevant to this case should be produced. Plaintiffs believe the
        parties are at an impasse regarding these requests.

        Requests for Production 4, 25: Formation of OpenAl

        OpenAl has agreed to produce only publicly available corporate
        formation documents. First, we do not know what you mean by that.
        Second, these requests seek information beyond public filings. Should
        OpenAl remain unwilling to provide more than just publicly available
        corporate formation documents, Plaintiffs believe the parties are at an
        impasse.

        Request for Production 8: How Codex Works

        OpenAl stated it will produce additional documents beyond just the
        Codex source code. Plaintiffs will review the documents produced and
        reserve their right to revisit this request if they determine the
        production is inadequate.
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        Requests for Production 9, 15-16, 37-39, 44, 46—49: Training Data,
        Including Selection, Licensing, and Use

        OpenAl will only produce documents related to Codex, stated that
        responsive data is voluminous, and asked that Plaintiffs consider an
        alternative to a full response, such as sampling. Plaintiffs would like to
        take you up on this without delay. Please provide us with the sample.
        Plaintiffs agree to continue to meet and confer regarding production of
        the documents that constitute the training data itself, but Plaintiffs
        make no representations as to whether an alternative to a full response
        will be adequate. Plaintiffs reiterated that they also seek documents
        that describe and/or list the contents of the training dataset and they
        are entitled to that production. Plaintiffs stand by this request and
        expect a full and complete response.

        Request for Production 10: Plaintiffs’ Use of Codex

        OpenAl requested that Plaintiffs inform OpenAl whether any of them
        used the Codex API and if so, which Plaintiffs used it. Plaintiffs agreed
        to confirm which Plaintiffs used the Codex API to allow OpenAl to
        perform a targeted search.

        Requests for Production 11-14°: Integration of Codex into Copilot,
        including Training & Output Filtering

        OpenAl agreed to produce the Codex source code in response to this
        request. Plaintiffs request that OpenAl also produce communications
        and other non-source code documents as well. OpenAl invited Plaintiffs
        to review the source code first and then request additional documents.
        While relevant, the production of source code is not fully responsive
        and does not satisfy the requests. Plaintiffs further reiterate their
        demand OpenAl produce all responsive documents to the request, not
       just the Codex source code, and that OpenAl produce any responsive
       information regarding Copilot, regardless of whether GitHub may
       possess the same information.




       ° Plaintiffs clarified that “license test” in Requests 11-14 is a typo and
       should read “license text”.
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         Requests for Production 17-18: Codex Duplicate Output Filtering

         OpenAl proposed providing information only for Plaintiffs’ code.
         Plaintiffs do not agree that this satisfies the request. Nonetheless,
         Plaintiffs agree that this is an appropriate place to start. Please do so
         without delay. Plaintiffs reiterate their request that OpenAl ultimately
         produce all responsive documents.      Plaintiffs expect that a full
         production will be made in a timely fashion.

         Requests for Production 19-20: Copilot Duplicate Output Filtering

        OpenAl stated that this information is only in GitHub’s possession.
        Plaintiffs accept OpenAl’s response but make no representations as to
        its adequacy at this juncture. Plaintiffs note GitHub’s unwillingness and
        recalcitrance with respect to providing this information. Plaintiffs
        request confirmation OpenAl will take steps to ensure GitHub produces
        this information.

        Requests for Production 26-27: OpenAl Ownership

        OpenAl refused to produce documents in response to these requests
        on the bases of relevance and overbreadth. Plaintiffs agree to meet and
        confer further these requests. However, Plaintiffs demand that OpenAl
        produce documents sufficient to identify owners of each OpenAl
        defendant and percent of ownership for each owner by entity. Plaintiffs
        propose that Plaintiffs will review such documents and advise if
        additional documents are required.

        Requests for Production 28-32: Documents Produced to
        Governmental     Entities which Address or Refer to the Issues in this
        Case

        OpenAl refused to produce documents. The objections are not well-
        taken. The parties are at an impasse.

        Request for Production 33: Lobbying Efforts which Address or Refer to
        the Issues in this Case

        OpenAl refused to produce documents. The objections are not well-
        taken. The parties are at an impasse.
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         Request for Production 34: Financial Documents

         OpenAl agreed to produce documents containing information about its
         sales, revenue, and costs from 2021 to the present. Plaintiffs reserve
         the right to revisit this request should the production prove
         inadequate.

         Request for Production 35: Agreements with Absent Class Members

        OpenAl refused to produce responsive documents but stated it may
        agree to produce documents specific to Plaintiffs only. Please do so.
        Plaintiffs reserve the right to revisit this request should the production
        prove inadequate.

        Requests for Production 40-43, 45: Azure documents Relevant to this
        Case

        OpenAl refused to produce documents on the basis of relevance.
        Plaintiffs disagree and believe the parties are at an impasse.

        Request for Production 50: Other Lawsuits

        OpenAl refused to produce documents on the basis of relevance.
        Plaintiffs would agree to the production of complaints filed in federal or
        state court or complaints submitted to any federal or state law
        enforcement or regulatory agency.

        Requests for Production 51-52: Advertising

        OpenAl agrees that these Requests call for discoverable information.
        OpenAl refused to produce documents in response to this request on
        the basis that most responsive documents are public. This is not well-
        taken. Plaintiffs disagree with this basis for refusing to produce
        documents. OpenAl must produce responsive documents in its
        possession, custody, or control. Plaintiffs believe the parties are at an
        impasse.

        Request for Production 53: Personnel Files of Select Employees

        OpenAl refused to produce documents on the basis of relevance.
        Plaintiffs agreed to meet and confer further regarding appropriate
        narrowing.
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         Request for Production 54: Document     Retention Policies

         OpenAl agreed to produce responsive documents. Plaintiffs reserve the
         right to revisit this request should the production prove inadequate.

         Requests for Production 55—56: Insurance

        OpenAl will produce copies of responsive insurance policies. Plaintiffs
        take it from this Response that responsive documents exist. Plaintiffs
        disagree with OpenAl’s proposed narrowing but will review OpenAl’s
        production and reserve all rights to pursue additional responsive
        documents.

        Request for Production 57: Communications Regarding Named
        Plaintiffs

        OpenAl proposed to use search terms and custodians to narrow the
        scope of this request. Plaintiffs are amenable to this approach but
        reserve all rights to pursue further responsive documents should it
        prove inadequate.
